EXHIBIT "A"
Case 1:23-cv-02598-CBA-RER Document 1 Filed 04/05/23 Page 1 of 6 PageID #: 1




     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     --------------------------------------------------------------------------X
     INA KAPLAN,                                                                     Case #:

                                        Plaintiff,

                       - against -                                                   VERIFIED COMPLAINT

     HYATT HOTELS CORPORATION and
     HYATT ZIVA ROSE HALL,                                                           PLAINTIFF DEMANDS
                                                                                     A TRIAL BY JURY
                                         Defendants.
     ----------------------------------------------------------------------------X

             Plaintiff, INA KAPLAN, complaining of the Defendants, HYATT HOTELS

     CORPORATION and HYATT ZIVA ROSE HALL, by her attorneys, DELL & DEAN,

     PLLC, alleges upon information and belief as follows:

                                          JURISDICTION AND VENUE

             1.        At all times hereinafter mentioned, Plaintiffs, INA KAPLAN, was and still is a

     resident of the State of New York, residing at 29 Coventry Road, Syosset, County of Nassau,

     State of New York.

             2.        Upon information and belief, Defendant, HYATT HOTELS CORPORATION,

     was and still is a domestic corporation, foreign corporation or other legal entity duly organized

     and existing under and by virtue of the laws of the State of Illinois.

             3.        Upon information and belief, at all times herein mentioned, Defendant, HYATT

     HOTELS CORPORATION is maintaining a principal place of business at 150 N Riverside

     Plaza, Chicago, State of Illinois.

                  4.       Upon information and belief, Defendant, HYATT ZIVA ROSE HALL, was

     and still is a domestic corporation, foreign corporation or other legal entity duly organized and

     existing under and by virtue of the laws of the country of Jamaica.

             5.        Upon information and belief, at all times herein mentioned, Defendant, HYATT
Case 1:23-cv-02598-CBA-RER Document 1 Filed 04/05/23 Page 2 of 6 PageID #: 2




     ZIVA ROSE HALL, is maintaining a principal place of business at Rose Hall Road, A1,

     Montego Bay, Jamaica.

                6.    That the amount in controversy exceeds in the sum of $150,000.00 exclusive of

     costs and interest.

                7.    Jurisdiction is properly had over this matter pursuant to 28 U.S.C. 1332 since the

     parties are citizens of diverse states and countries, and the amount in controversy exceeds the

     sum of SEVENTY FIVE THOUSAND ($75,000.00) DOLLARS.

                8.    Venue is properly placed in the United States District Court for the Eastern

     District of New York since the Plaintiff resides within that district and that district is the most

     convenient for this action to be tried.

                               AS AND FOR A FIRST CAUSE OF ACTION
                                    ON BEHALF OF INA KAPLAN


                9.    At all times hereinafter mentioned, the premises known as Rose Hall Road, A1,

     Montego Bay, Jamaica, specifically, Building 3, second floor, included the common areas

     thereat.

                8.    This action falls within one or more of the exceptions set forth in CPLR § 1602.

                10.   Defendant, HYATT HOTELS CORPORATION is the owner of the premises

     whose main office is located at 150 N Riverside Plaza, Chicago, State of Illinois.

                17.   Defendant, HYATT ZIVA ROSE HALL is the owner of the premises whose

     main office is located at Rose Hall Road, A1, Montego Bay, Jamaica.

                11.   Defendant, HYATT HOTELS CORPORATION is the owner of the premises

     known as Rose Hall Road, A1, Montego Bay, Jamaica.

                18.   Defendant, HYATT ZIVA ROSE HALL is the owner of the premises known as

     Rose Hall Road, A1, Montego Bay, Jamaica.
Case 1:23-cv-02598-CBA-RER Document 1 Filed 04/05/23 Page 3 of 6 PageID #: 3




            12.      At all times hereinafter mentioned, the Defendant, HYATT HOTELS

     CORPORATION, its agents, servants and/or employees, operated the subject premises,

     specifically Building 3, second floor.

            19.      At all times hereinafter mentioned, the Defendant, HYATT ZIVA ROSE HALL,

     its agents, servants and/or employees, operated the subject premises, specifically Building 3,

     second floor.

            13.      At all times hereinafter mentioned, the Defendant, HYATT HOTELS

     CORPORATION, its agents, servants and/or employees, maintained the subject premises,

     specifically Building 3, second floor.

            20.      At all times hereinafter mentioned, the Defendant, HYATT ZIVA ROSE HALL,

     its agents, servants and/or employees, maintained the subject premises, specifically Building 3,

     second floor.

            14.      At all times hereinafter mentioned, the Defendant, HYATT HOTELS

     CORPORATION, its agents, servants and/or employees, managed the subject premises,

     specifically Building 3, second floor.

            21.      At all times hereinafter mentioned, the Defendant, HYATT ZIVA ROSE HALL,

     its agents, servants and/or employees, managed the subject premises, specifically Building 3,

     second floor.

            15.      At all times hereinafter mentioned, the Defendants, HYATT HOTELS

     CORPORATION, its agents., servants and/or employees, controlled the subject premises,

     specifically Building 3, second floor.

            22.      At all times hereinafter mentioned, the Defendant, HYATT ZIVA ROSE HALL,

     its agents., servants and/or employees, controlled the subject premises, specifically Building 3,
Case 1:23-cv-02598-CBA-RER Document 1 Filed 04/05/23 Page 4 of 6 PageID #: 4




     second floor.

            16.      That at all times hereinafter mentioned, it was the duty of the Defendant, HYATT

     HOTELS CORPORATION, its agents, servants and/or employees to maintain, inspect, and

     repair the aforesaid subject premises, specifically Building 3, second floor.

            23.      That at all times hereinafter mentioned, it was the duty of the Defendant, HYATT

     ZIVA ROSE HALL, its agents, servants and/or employees to maintain, inspect, and repair the

     aforesaid subject premises, specifically Building 3, second floor.

            24.      On April 19, 2022, at approximately 3:50 p.m., Plaintiff was caused and allowed

     to slip and fall and sustain serious personal injuries at the aforesaid subject premises due to a

     dangerous and hazardous condition existing thereat.

            25.      Plaintiff’s injuries were due directly to the negligence, carelessness, recklessness,

     reckless disregard and gross negligence of the Defendants, HYATT HOTELS

     CORPORATION and HYATT ZIVA ROSE HALL and their respective agents, servants

     and/or employees in their ownership, operation, management, maintenance, and control of the

     subject premises, specifically Building 3, second floor.

            26.      That, upon information and belief, Defendants HYATT HOTELS

     CORPORATION and HYATT ZIVA ROSE HALL had actual notice of this defective

     condition in that this Defendants created the condition and were present on a daily basis prior to

     the underlying accident.

            27.      The aforesaid serious injuries sustained by the Plaintiff INA KAPLAN were

     caused solely by the negligence of the Defendants in their ownership, operation, maintenance,

     management and control of the subject premises.

            28.      By reason of the foregoing, Plaintiff, INA KAPLAN has been damaged in an

     amount which exceeds the jurisdictional limits of all lower courts, which might otherwise have
Case 1:23-cv-02598-CBA-RER Document 1 Filed 04/05/23 Page 5 of 6 PageID #: 5




     jurisdiction over this matter.

            WHEREFORE, Plaintiff INA KAPLAN, demands judgment against the Defendants

     HYATT HOTELS CORPORATION and HYATT ZIVA ROSE HALL herein on all causes

     of action, in a sum exceeding the jurisdictional limits of all lower courts which would otherwise

     have jurisdiction, together with the costs and disbursements of this action.

     Dated: Garden City, New York
            April 5, 2023

                                                       Yours, etc.

                                                       _________________________________
                                                       JOSEPH G. DELL (JD 7315)
                                                       DELL & DEAN, PLLC
                                                       Attorneys for Plaintiff
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Case 1:23-cv-02598-CBA-RER Document 1 Filed 04/05/23 Page 6 of 6 PageID #: 6
